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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLORADO

Civil Action No. 14-cv-01613-Kl\/lT-KLI\/|
DONNA LONGWOLF

Plaintirf,
v.
BARBARA POST;
GE|CO CASUALTY COMPANY;
VALERA HOLTORF, d/bla
DASHABOUT TOWN TAX|, L.L.C.

Defendantsl

 

ST|PULAT|ON FOR DlSM|SSAL WlTH PREJUD|CE OF
DEFENDANT GE|CO CASUALTY COMPANY

 

PLA|NT|FF Donna Longwolfand Defendant GE|CO Casualty Company, by their attorneysl
stipulate and agree to dismiss the Within action, With prejudice, each party to pay their own costs.
These parties inform the Court that all matters in controversy have been compromised and settled
to their satisfaction. P|aintiff Donna Longwoh°s claims remain against Defendants Barbara Post, and

Va|era Holtorf, d/b/a Dashabout ToWn Taxi, L.L.C.

Respectfully submitted by:

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BRET BEATTL|E LAW F|R|\/|, L.L.C.

BY lp MM
Ron”ald Bret H/eattie

7200 South Alton Way, Suite A-12O
Centennia|l Colorado 80112

Telephone: 720-708-3275

E|\/l: bret @ bret beattie law firm .com

[co-Counse| for Plaintiff Longwolt]

DE|SCH, MAR|ON & KLAUS, P.C.

     

imothy F. Marion '

851 Clarkson Street

Denver, Colorado 80218

Telephone: 303-837-1122

El\/l: Tim_l\/larion @ Deisch-l\/larion.com
Counsel for Defendant

GE|CO Casua|ty Company

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CERT|F|CATE OF E-SERV|CE and/or MA|L|NG
The undersigned certifies that a true and correct copy of the foregoing ST|PULAT|ON FOR
DlSM|SSAL WlTH PREJUD|CE OF DEFENDANT GE|CO CASUALTY COMPANY Was e-fi|ed

and/or deposited in the United States mai|, postage prepaid, on the 9th day of March, 2016,
addressed as follows:

Al| Counsel of Record

*/ s / Timothy F. Marion

 

Timothy F. Marion

*/ s / denotes electronic signature. Pursuant to RuIe 121, C.R.C.P., the original of this document shall remain
on file at the office of the filing attorney and available for inspection upon request.

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